                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
 LIABILITY LITIGATION
                                                   Case No. 16-md-02741-VC

                                                   PRETRIAL ORDER NO. 175:
 This document relates to:
                                                   GRANTING JOINT STIPULATION AND
 Bittinger v. Monsanto Co., 19-cv-3566             DIRECTING THE FILING OF A
                                                   SHORT-FORM COMPLAINT

                                                   Re: Dkt. No. 5226

       The Court grants the joint stipulation severing the claims of the non-federal-enclave

plaintiffs and remanding those plaintiffs to the 22nd Judicial Circuit Court for the City of St.

Louis, Missouri, with the parties to bear their own costs and attorneys’ fees. See Dkt. No. 5226.

The lone remaining plaintiff, Manuel Colon, is directed to file a short-form complaint in the

docket for the member case, Bittinger v. Monsanto Co., 19-cv-3566. The requirements for the

short-form complaint are described in Pretrial Order No. 155, ¶ 1, Dkt. No. 4454.

       IT IS SO ORDERED.

Dated: September 6, 2019
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                                              VINCE CHHABRIA
                                              United States District Judge
